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13

14                                 UNITED STATES DISTRICT COURT
15
                                NORTHERN DISTRICT OF CALIFORNIA
16
                                         SAN FRANCISCO DIVISION
17

18    STATE OF CALIFORNIA, et al.,                     CIVIL CASE NO.: 3:20-CV-06761-EMC
19                         Plaintiffs,

20                  v.                                 JOINT STATUS REPORT

21    BUREAU OF ALCOHOL, TOBACCO,                      Action Filed: September 29, 2020
      FIREARMS AND EXPLOSIVES, et al.,
22                                                     Status Conference: May 17, 2022 at 2:30 p.m.
                           Defendants.
23                                                     Hon. Edward M. Chen
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1           Pursuant to this Court’s March 30, 2022 Order directing the filing of a joint status report (ECF
2    No. 104), Plaintiffs the State of California, Bryan Muehlberger, Frank Blackwell, and Giffords Law
3    Center to Gun Prevent Violence, and Defendants Bureau of Alcohol, Tobacco, Firearms and Explosives
4    (“ATF”), Marvin G. Richardson, Daniel Hoffman, United States Department of Justice, and Merrick
5    B. Garland (collectively, the “Parties”), by and through their respective counsel of record, hereby
6    submit the following:
7           The Parties respectfully request that the Court either stay the case, and grant a continuance of
8    the case management conference currently scheduled for May 17, 2022 at 2:30 p.m., or administratively
9    close the case without prejudice to reopening it. The Parties believe that a stay or administrative closure
10   is appropriate for the following reasons:
11          As the Court is aware, this case concerns ATF’s interpretations of the regulatory terms
12   “firearm” and “frame or receiver” in ATF classification or determination letters and enforcement
13   guidance posted to ATF’s website.           Specifically, Plaintiffs’ Complaint alleged that ATF’s
14   interpretations were arbitrary and capricious in violation of the Administrative Procedure Act.
15          On April 11, 2022, ATF issued a final rule titled “Definition of ‘Frame or Receiver’ and
16   Identification of Firearms.” The Final Rule was published in the Federal Register on April 26, 2022.
17   See Definition of “Frame or Receiver” and Identification of Firearms, 87 Fed. Reg. 24652, codified at
18   27 C.F.R. pts. 447, 478 and 479 (“Final Rule”). The Final Rule removes and replaces the regulatory
19   definitions of “firearm frame or receiver” and “frame or receiver” and amends ATF's definitions of
20   “firearm” and “gunsmith.” The Final Rule also provides that “[p]rior determinations by the Director
21   that a partially complete, disassembled, or nonfunctional frame or receiver, including a parts kit, was
22   not, or did not include, a ‘firearm frame or receiver’” as defined prior to the final rule being published,
23   “shall not continue to be valid or authoritative.” 27 C.F.R. § 478.12(f)(2).
24          The Final Rule does not go into effect until August 24, 2022—120 days after it was published
25   in the Federal Register. Because the Final Rule does not go into effect until August 24, 2022, the
26   Parties propose that the Court either (a) stay the case and continue the case management conference
27   currently scheduled for May 17, 2022 until after the effective date of the Final Rule; or (b) grant an
28   administrative closure of the case, without prejudice to reopening it within fourteen days after the


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1    effective date of the Final Rule. The Parties believe a stay or administrative closure is appropriate and
2    will help ensure efficiency and judicial economy. The Parties further set forth their respective positions
3    below:
4             Plaintiffs’ Position: Plaintiffs agree to staying the case and continuing the status conference,
5    or alternatively, an administrative closure. Plaintiffs will be in a better position to know whether further
6    proceedings in this matter are necessary after the effective date of the Final Rule. Specifically, until
7    the Final Rule goes into effect, Plaintiffs will not know how ATF will re-classify the Polymer80
8    products identified in their Complaint and/or how ATF will modify its online guidance. See ECF No.
9    1 ¶¶ 71-75, 86-91. Moreover, before making further decisions with respect to this action, Plaintiffs
10   want to ensure that the rule does indeed take effect.
11            Defendants’ Position: While Defendants believe that ATF’s issuance and publication of the
12   Final Rule moots Plaintiffs’ claims in this action, administrative closure or stay of this case until after
13   the effective date of the Final Rule would preserve the Court’s and the Parties’ resources and is
14   appropriate.
15            Consistent with the Parties’ positions in this joint status report, the Parties respectfully request
16   an order from the Court either staying the case and continuing the May 17, 2022 case management
17   conference, or administratively closing the case, as the Court deems appropriate.
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20   Dated: May 10, 2022                             /s/       Avi Weitzman
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11   Dated: May 10, 2022                     /s/ R. Matthew Wise
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28                                            /s/ Martin M. Tomlinson
                                             MARTIN M. TOMLINSON

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          Case 3:20-cv-06761-EMC Document 106 Filed 05/10/22 Page 7 of 7


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                                       SIGNATURE ATTESTATION
2

3
     Pursuant to Local Rule 5-1(i), I hereby attest that concurrence in the filing of the document has been
4    obtained from each of the other Signatories.

5

6
     Dated: May 10, 2022                                   /s/   Avi Weitzman
7                                                                Avi Weitzman
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